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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION


    In re:                                              Chapter 11

    LIMETREE BAY SERVICES, LLC., et al.,                Case No. 21-32351 (DRJ)

                                  Debtors. 1            (Jointly Administered)



                                    CERTIFICATE OF SERVICE

       I, Janira N. Sanabria, depose and say that I am employed by Stretto, the claims and noticing
agent for the Debtors in the above-captioned cases.

       On July 28, 2023, at my direction and under my supervision, employees of Stretto caused the
following document to be served via first-class mail on service list attached hereto as Exhibit A,
and via electronic mail on the service list attached hereto as Exhibit B:

      •      Notice of LBR Liquidating Trust’s Quarterly Liquidity Report (Docket No. 1727)

Dated: August 1, 2023                                                        /s/ Janira N. Sanabria
                                                                             Janira N. Sanabria
                                                                             STRETTO
                                                                             8269 E. 23rd Ave, Suite 275
                                                                             Denver, CO 80238
                                                                             714-646-7602
                                                                             TeamLimetree@Stretto.com




1
         The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax
identification number, as applicable, are: Limetree Bay Services, LLC (1866); Limetree Bay Refining Holdings,
LLC (1776); Limetree Bay Refining Holdings II, LLC (1815); Limetree Bay Refining, LLC (8671); Limetree Bay
Refining Operating, LLC (9067); Limetree Bay Refining Marketing, LLC (9222). The Debtors’ mailing address is
Limetree Bay Services, LLC, 11100 Brittmoore Park Drive, Houston, TX 77041.
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                        Exhibit A
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                                                                                                                         Exhibit A
                                                                                                                   Served Via First-Class Mail


                      Name                                    Attention                                      Address 1                                 Address 2                           Address 3                      City             State     Zip
   ASK LLP                                    KE. Casteel, GD. Underdahl, NC. Brown      2600 Eagan Woods Drive, Suite 400                                                                                     St. Paul                   MN     55121
   AVEVA Software LLC                         c/o Holland & Knight LLP                   Attn: Lynne B. Xerras                             10 St. James Avenue                11th Floor                       Boston                     MA     02116
   Baker Hostetler LLP                        David J. Richardson                        11601 Wilshire Boulevard, Ste 1400                                                                                    Los Angeles                CA     90025-0509
   Barclays Bank PLC                          Attn: Legal                                745 Seventh Avenue                                                                                                    New York                   NY     10019
   Barclays Bank PLC                                                                     745 7th Avenue                                    8th Floor                                                           New York                   NY     10019
   BlackLine Systems, Inc                     c/o Felderstein Fitzgerald Willoughby      Attn: PaulJ.Pascuzzi                              Pascuzzi & Rios                    500 Capitol Mall, Suite 2250     Sacramento                 CA     95814
   BP Oil Supply                                                                         501 Westlake Park Blvd                                                                                                Houston                    TX     77079
   BP Products North America Inc.             Attn: Head of Marketing & Origination      30 South Wacker Drive,                            Suite 900                                                           Chicago                    IL     60606
   Cleaver-Brooks Sales & Service Inc                                                    1956 Singleton Blvd.                                                                                                  Dallas                     TX     75212
   Conway MacKenzie LLC                       Gary Barton                                909 Fannin Street, Suite 4000                                                                                         Houston                    TX     77010
   Costrack Project Controls                  c/o Manning Legal, PC                      Attn: Yohana Manning                              2120 Company Street                                                 Christiansted              VI     00820
   Crowley Caribbean Svcs LLC Et Al           c/o Mcguirewoods LLP                       Attn: Stephanie J. Bentley                        888 16th Street N.W.               Black Lives Matter Plz Ste 500   Washington                 DC     20006
   Dresser-Rand Company                                                                  100 E Chemung St                                                                                                      Painted Post               NY     14870
   Englobal U.S. Inc.                                                                    225 Portwall St.                                                                                                      Houston                    TX     77029
   Environmental Protection Agency                                                       Region 2 290 Broadway                                                                                                 New York                   NY     10007-1886
   Evoqua Water Technologies LLC              c/o Dickie, McCamey & Chilcote, P.C.       Attn: Samuel R. Grego                             Two PPG Place, Suite 400                                            Pittsburgh                 PA     15222
   Excel USA                                  Ms. Cherie Pinac                           8641 United Plaza Blvd.                                                                                               Baton Rouge                LA     70809
   Govmt of the US Virgin Islands             c/o Winston & Strawn LLP                   Attn: Geoffrey P. Eaton                           1901 L St. NW                                                       Washington                 DC     20036
   Gulf Oil Limited Partnership               Julio Mazzoli                              80 William Street, Suite 400                                                                                          Wellesley Hills            MA     02481
   HKA Enterprises, LLC                                                                  337 Spartangreen Bvd                                                                                                  Duncan                     SC     29334
   Internal Revenue Service                   Houston Division                           1919 Smith Street                                                                                                     Houiston                   TX     77002
   Internal Revenue Service                   Centralized Insolvency Ops                 PO Box 7346                                                                                                           Philadelphia               PA     19101-7346
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   New Jersey Division of Revenue             Division of Taxation                       PO Box 281281                                                                                                         Trenton                    NJ     08695
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   Texas Comptroller of Public Account        Rev Accounting Division BK Section         PO Box 13528                                                                                                          Austin                     TX     78711-3528
   Texas Workforce Commission                 Bankruptcy Section                         PO Box 149080                                                                                                         Austin                     TX     78714-9080
   The Claro Group, LLC                       Ronald Van Epps, Managing Director         711 Louisiana Street, Suite 210                                                                                       Houston                    TX     77002
   The Gov`t of the US Virgin Islands         Dept of Plannnig & NaturalResources        DivofEnv Prot 45 Mars Hill St Croix                                                                                   Frederiksted               VI     00840
   The Gov`t of the US Virgin Islands         Attn: Office of the Governor               Government House                                  Charlotte Amalie                                                    St. Thomas                 VI     00802
   the Govmt of the US Virgin Islands         c/o Winston & Strawn LLP                   Attn: Geoffrey P. Eaton                           1901 L St. NW                                                       Washington                 DC     20036
   Three L Inc.                               c/o o ChristianAttar                       Attn: James W. Christian, Melanie H. Cruthirds    2302 Fannin St., Suite 500                                          Houston                    TX     77002
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   V I Bureau of Internal Revenue                                                        4008 Estate Diamond                               Plot 7-B                                                            Christiansted              VI     00820-4421
   VI Industrial Services, LLC                c/o Manning Legal, PC                      Attn: Yohana Manning                              2120 Company Street                                                 Christiansted              VI     00820
   WDI USVI LLC                               c/o Manning Legal, PC                      Attn: Yohana Manning                              2120 Company Street                                                 Christiansted              VI     00820
   Wilmington Trust, Ntl Assoc                c/o Alston & Bird LLP                      Attn: David A. Wender                             One Atlantic Center                1201 West Peachtree Street       Atlanta                    GA     30309




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                                                                                                    Exhibit B
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                                       Name                                          Attention 1                                                 Attention 2                                             Email
   Ad Hoc Term Lender Group                             c/o Akin Gump Strauss Hauer & Feld LLP                             Attn: Ira S. Dizengoff                                 idizengoff@akingump.com
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   Aware Super Pty Ltd                                  as trustee of Aware Super                                                                                                 gs-dallas-adminagency@ny.email.gs.com
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   BP Products North America Inc et al.                 c/o Arnold & Porter Kaye Scholer LLP                               Attn: Michael D. Messersmith, D T Nurnberg             michael.messersmith@arnoldporter.com
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   Christiansted Equipment Ltd.                         Robert McKenna, Jr & Daniel McKenna                                                                                       bobmckenna@fmmafco.com
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   Crowley Caribbean Svcs LLC Et Al                     c/o Mcguirewoods LLP                                               Attn: Demetra Liggins                                  dliggins@mcguirewoods.com
   Crowley Caribbean Svcs LLC Et Al                     c/o Mcguirewoods LLP                                               Attn: John H. Maddock III                              jmaddock@mcguirewoods.com
   Crowley Caribbean Svcs LLC Et Al                     c/o Mcguirewoods LLP                                               Attn: Stephanie J. Bentley                             sbentley@mcguirewoods.com
   Cust-O-Fab Specialty Services, LLC                                                                                                                                             mwood@custofab.com
   Cust-O-Fab, LLC                                                                                                                                                                mwood@custofab.com
   DNOW LP D/B/A DistributionNOW                        c/o STACY & BAKER, P.C.                                            Attn: Brian A. Baker                                   brian.baker@stacybakerlaw.com
   Dresser-Rand Co.                                     c/o Vedder Price P.C.                                              Attn: Arlene N. Gelman                                 agelman@vedderprice.com
   Dresser-Rand Company                                                                                                                                                           yric.scott.ext@siemens.com

In re: Limetree Bay Services, LLC., et al.,
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   EIG                                                                c/o White & Case LLP                                                 Attn: William Guerrieri, Gregory F. Pesce     William.guerrieri@whitecase.com
   Elite Turnaround Specialists, Ltd.                                                                                                                                                    AR@eliteturnaround.com
   Elite Turnaround Specialists, Ltd.                                 c/o Dan Pettit                                                       Attn:                                         djpettit@quantaservices.com
   Elite Turnaround Specialists, Ltd.                                 c/o LOCKE LORD LLP                                                   Attn: Elizabeth M. Guffy                      eguffy@lockelord.com
   Embark Consulting, LLC                                             c/o Martin Powers & Counsel, PLLC                                    Attn: Meagan Martin Powers                    meagan@martinpowers.com
   EnerMech Mechanical Services, Inc                                                                                                                                                     mamos@enermech.com
   Englobal U.S. Inc.                                                                                                                                                                    rocky.medina@englobal.com
   Englobal U.S. Inc.                                                 Attn: Mark A. Hess                                                                                                 mark.hess@englobal.com
   Excel Cnstrction & Mntenance VI Inc                                c/o Butler Snow LLP                                                  Attn: David S. Rubin                          David.Rubin@butlersnow.com
   Excel Construction & Maintenance VI                                Attn: Cherie A. Pinac                                                                                              wbyrd@excelusa.com
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   Fitzpatrick Lentz & Bubba, PC                                      Douglas J. Smillie                                                                                                 dsmillie@flblaw.com
   Flowserve US INC                                                                                                                                                                      credit.central@flowserve.com
   Flowserve US Inc.                                                  c/o Clark Hill PLC                                                   Attn: R P. Franke, A G Edson, A L Hornisher   AHornisher@clarkhill.com
   Future Fund Invstmnt Co # 2 Pty Ltd                                (ABN 90 130 788 493)                                                                                               alennon@wilmingtontrust.com
   Future Fund Invstmnt Co # 2 Pty Ltd                                (ABN 90 130 788 493)                                                                                               gs-dallas-adminagency@ny.email.gs.com
   Generator & Motor Svcs of Pennsylvania, LLC d/b/a BRUSH Americas   c/o Tucker Arensberg, P.C.                                           Attn: Michael A. Shiner & Maribeth Thomas     mshiner@tuckerlaw.com
   Gibson, Dunn, & Crutcher LLP                                                                                                                                                          cbilling@gibsondunn.com
   Goldman Sachs Bank USA                                             c/o Cleary Gottlieb Steen & HamiltonLLP                              Attn: Sean A. O`Neal, Jane VanLare            soneal@cgsh.com
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   Gray Reed                                                          Jason Brookner, Lydia Webb                                                                                         jbrookner@grayreed.com
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   H&K Engineering LLC                                                c/o Bernstein-Burkley, P.C.                                          Attn: Kirk B. Burkley                         kburkley@bernsteinlaw.com
   Harris County                                                      c/o Linebarger Goggan Blair&Sampson LLP                              Attn: John P. Dillman                         houston_bankruptcy@lgbs.com
   Honeywell Enraf Americas, Inc. & Honeywell International Inc       c/o Adams and Reese LLP                                              Attn: Scott R. Cheatham                       scott.cheatham@arlaw.com
   InServ Field Services USVI, LLC                                    Cody Reese                                                                                                         ar@inservusa.com
   InServ Field Services USVI, LLC, Integrated Service Company, LLC   c/o Frederic Dorwart, Lawyers PLLC                                   Attn: Samuel Ory, John D. Clayman             sory@fdlaw.com
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   Ironshore Indemnity, Inc.                                          c/o Duane Morris LLP                                                 Attn: Aron M. Oliner                          roliner@duanemorris.com
   Ironshore Indemnity, Inc.                                          c/o Duane Morris LLP                                                 Attn: Cameron J. Asby                         cjasby@duanemorris.com
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   LBR Liquidating Trust                                              Mintz Levin Cohn Ferris, Et Al.                                      Abigail V. O`Brient, Esq                      aobrient@mintz.com
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   Limetree Bay Cayman II, Ltd.                                                                                                                                                          alennon@wilmingtontrust.com
   Limetree Bay Cayman II, Ltd.                                                                                                                                                          gs-dallas-adminagency@ny.email.gs.com
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   Limetree Bay Terminals, LLC                                                                                                                                                           aphelp@lbenergy.com
   Limetree Terminal Entities                                         c/o Quinn Emanuel Urquhart & Sullivan                                Attn: Benjamin I. Finestone                   benjaminfinestone@quinnemanuel.com
   LMMVI, LLC                                                         c/o The Steffes Firm, LLC                                            Attn: William E. Steffes                      bsteffes@steffeslaw.com
   MA Dept of Revenue                                                                                                                                                                    snyderge@dor.state.ma.us
   Mammoet USA South, Inc.                                            c/o Schouest, Bamdas, Soshea & BenMaier                              Attn: Robert P. Vining                        rvining@sbsblaw.com
   NAES Corporation                                                   David Miner, Assoc Gen Counsel                                                                                     david.miner@naes.com
   National Industrial Services LLC                                   c/o Barnes & D`Amour                                                 Attn: Kevin F D` Amour                        kevin.damour@comcast.net
   National Industrial Services, LLC                                  Attn: Jeffery L. Nations                                                                                           sjagrup@nisstx.com
   National Industrial Services, LLC                                  c/o Kevin F. D’Amour                                                                                               kevin.damour@comcast.net
   New Jersey Dept of the Treasury                                    Division of Taxation                                                                                               treasury.director@treas.state.nj.gov
   Office of the US Trustee                                                                                                                                                              hector.duran.jr@usdoj.gov
   Oracle America, Inc                                                c/o Buchalter, a Professional Corp                                   Attn: Shawn M. Christianson                   schristianson@buchalter.com
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Case Number: 21-32351 (DRJ)                                                                                                                                                                                              Page 2 of 4
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                                     Name                                                 Attention 1                                                 Attention 2                                         Email
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   Platinum Compass B 2018 RSC Limited                                                                                                                                             gs-dallas-adminagency@ny.email.gs.com
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   Reactor Resources LLC                                       c/o Johnson, DeLuca, Kurisky & Gould PC                            Attn: Millard A. Johnson, Sara J. Sherman        mjohnson@jdkglaw.com
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                                                                                        Exhibit B
                                                                                  Served Via Electronic Mail


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